       Case 4:16-cr-00019-BMM Document 231 Filed 04/18/17 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA

                           GREAT FALLS DIVISION

                              )
UNITED STATES OF AMERICA,     ) Case No. CR 16-19-GF-BMM
                              )
         Plaintiff,
                              )
                                            ORDER
    v.                        )
                              )
                              )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE      )
BROOME                        )
         Defendants.          )


      Defendants filed a Renewed Motion for an Order to Show Cause as to why

the Chippewa Cree Tribe should not be held in contempt of court arguing that the

Tribe did not comply with the Court’s April 3, 2017 Order (Doc. 210) requiring the

Tribe to disclose information regarding its production of documents in a prior civil

action. (Doc. 219.) The Court conducted a hearing on the motion on April 18,

2017. (Doc. 229.)


      For good cause shown the Court issues the following order:


      1. Defendant’s renewed motion is GRANTED.
 Case 4:16-cr-00019-BMM Document 231 Filed 04/18/17 Page 2 of 2



2. The Chippewa Cree Tribe must appear before United States District
   Judge Brian Morris on Thursday, April 27, 2017, at 11:00 a.m. and
   show cause as to why the Tribe should not be held in contempt of court.

3. The Chippewa Cree Tribe must file an amended declaration with the
   Court no later than April 24, 2017 at 12:00 p.m. The amended declaration
   must comply with the Court’s April 3, 2017 Order (Doc. 210) and must
   also include clarification as to whether Pepper Hamilton is in possession
   of computers, hard drives, or other discovery information belonging to
   the Tribe.

4. The Chippewa Cree Tribe must provide the allegedly privileged materials
   identified in Exhibit 2 to Defendant’s renewed motion to the Court no
   later than April 19, 2017, at 9:00 a.m. so the Court can conduct an in
   camera review of the documents.


DATED this 18th day of April 2017.
